        Case 1:20-cv-12090-DPW Document 159 Filed 05/27/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ALLIANCE FOR AUTOMOTIVE
INNOVATION

                   Plaintiff,

       vs.                                            C.A. No. 1:20-cv-12090-DPW

MAURA HEALEY, ATTORNEY GENERAL
OF THE COMMONWEALTH OF
MASSACHUSETTS in her official capacity,

                   Defendant.


                                PLAINTIFF’S WITNESS LIST

       Pursuant to the Amended Scheduling Order (Dkt. at 138) and Order Regulating Non-Jury

Civil Trial ¶ II(4)(a), Plaintiff Alliance for Automotive Innovation (“Auto Innovators”) identifies

its witnesses below.

       Witnesses Appearing for Auto Innovators at Trial

       The following witnesses, listed alphabetically by last name, will testify in person at trial on

behalf of Auto Innovators. Affidavits of the direct testimony of esach witness are filed herewith.

       Fact Witnesses

               1. Kevin Baltes, Director – Product Cyber Security, General Motors Corp.

               2. Mark Chernoby, Chief Technical Compliance Officer, FCA US LLC

               3. Steve Douglas, Vice President, Auto Innovators

               4. Kevin Tierney, VP Global Cybersecurity, General Motors Corp.

       Expert Witnesses

               5. Bryson Bort, expert

               6. Daniel B. Garrie, expert



                                                 1
        Case 1:20-cv-12090-DPW Document 159 Filed 05/27/21 Page 2 of 3




       In addition, to minimize the scope of deposition designations presented to the Court, Auto

Innovators has agreed with Defendant Attorney General Maura Healey (“Defendant”) that with

respect to in-person witnesses, the parties will not object to cross-examination beyond the scope

of witness’ direct testimony. Accordingly, Auto Innovators may solicit testimony from

Defendant’s in-person witnesses—including Aaron Lowe, Greg Potter, Craig Smith, and Brian

Romansky—that is beyond the scope of their direct examinations.

       Witnesses Appearing for Auto Innovators by Deposition Designation Only

       Auto Innovators is designating deposition testimony of Taylor Mitchell and may counter-

designate deposition testimony for any witnesses whose deposition testimony is designated by

Defendant.



Dated: May 27, 2021

Respectfully submitted,

PLAINTIFF ALLIANCE FOR
AUTOMOTIVE INNOVATION

By its attorneys,

/s/Laurence A. Schoen
Laurence A. Schoen, BBO # 633002
Elissa Flynn-Poppey, BBO# 647189
MINTZ, LEVIN, COHN, FERRIS,
GLOVSKY, AND POPEO, P.C.
One Financial Center
Boston, MA 02111
Tel: (617) 542-6000
lschoen@mintz.com
eflynn-poppey@mintz.com

John Nadolenco (pro hac vice)
Jason Linder (pro hac vice)
Daniel D. Queen (pro hac vice)
Erika Z. Jones (pro hac vice)



                                               2
        Case 1:20-cv-12090-DPW Document 159 Filed 05/27/21 Page 3 of 3




Eric A. White (pro hac vice)
MAYER BROWN LLP
1999 K Street, NW
Washington, DC 20006
Tel: (202) 263-3000
jnadolenco@mayerbrown.com
jlinder@mayerbrown.com
dqueen@mayerbrown.com
ejones@mayerbrown.com
eawhite@mayerbrown.com

Charles H. Haake (pro hac vice)
Jessica L. Simmons (pro hac vice)
ALLIANCE FOR AUTOMOTIVE INNOVATION
1050 K Street, NW
Suite 650
Washington, DC 20001
Tel: (202) 326-5500
chaake@autosinnovate.org
jsimmons@autosinnovate.org


                                CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and that paper copies will be sent to those indicated as non-registered participants on May 27,
2021.

                                                     /s/ Laurence A. Schoen
                                                     Laurence A. Schoen




                                                 3
